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                                UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA,
                                                  Case No. 1:18-cr-00258-BLW
                Plaintiff,

        vs.                                       NOTICE OF APPEARANCE
                                                  OF CO-COUNSEL
PAVEL BABICHENKO,
GENNADY BABITCHENKO,
PIOTR BABICHENKO,
TIMOFEY BABICHENKO,
KRISTINA BABICHENKO,
NATALIE BABICHENKO,
DAVID BIBIKOV,
ANNA IYERUSALIMETS,
MIKHAIL IYERUSALIMETS,
ARTUR PUPKO,

                Defendants.



       The United States of America, by and through Rafael M. Gonzalez, Jr., Acting United

States Attorney, and the undersigned Assistant United States Attorney for the District of Idaho,


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hereby appears as co-counsel for the plaintiff, in the above captioned action, and requests that all

further papers and pleadings herein be served upon the undersigned attorney at the above address

or electronically to Joshua.Hurwit@usdoj.gov.



               DATED this 9th day of September, 2021.


                                                  RAFAEL M. GONZALEZ, JR.
                                                  ACTING UNITED STATES ATTORNEY
                                                  By:



                                                   /s/ Joshua D. Hurwit
                                                  JOSHUA D. HURWIT
                                                  Assistant United States Attorney




NOTICE OF APPEARANCE OF CO-COUNSEL - 2
